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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

IHSAN AYYAD,                              )
                                          )
             Plaintiff                    )   Case No. 16-C-10314
      v.                                  )   Judge Harry D. Leinenweber
                                          )   Mag. Judge Sidney I. Schenkier
OGDEN MINUTEMAN, INC.                     )
and ZUHEIR TADROS,                        )
                                          )
             Defendants.                  )

                   AMENDED JUDGMENT IN A CIVIL CASE

      Judgment is hereby entered in favor of plaintiff Ihsan Ayyad and against

defendants Ogden Minuteman, Inc., whose last known address is 903 S. Butternut

Circle, Frankfort, Illinois 60423; and Zuheir Tadros, whose last known address is

14531 Stirrup Court, Homer Glen, Illinois 60491; jointly and severally, in the

amount of $76,677.93, consisting of attorneys’ fees in the amount of $74,775, taxable

costs in the amount of $1,731.52, and non-taxable expenses of $171.41.

      This judgment is in addition to the final judgment entered in favor of

Plaintiff and against Defendants, jointly and severally, on June 27, 2018, (ECF No.

61), awarding damages to Plaintiff.

      This action was decided by Judge Harry D. Leinenweber on Plaintiff’s Bill of

Costs (ECF No. 62) and motion for attorneys’ fees (ECF No. 63).

Entered:


1/11/2019                                     ________________________________
Date                                          Harry D. Leinenweber, Judge
